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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TANYA BOWLES, for herself and all
those similarly situated,

and

BRUCE TALYOR, for himself and all
those similarly situated,


                   Plaintiffs,
                                                    Civil Case No. 20-12838
v.                                                  Honorable Linda V. Parker

ERIC R. SABREE, COUNTY OF
WAYNE BY ITS BOARD OF
COMMISSIONERS also sometimes
known as CHARTER COUNTY OF
WAYNE BY ITS BOARD OF
COMMISSIONERS, COUNTY OF
OAKLAND, and ANDREW MEISNER,

               Defendants.
_________________________________/

             FINAL JUDGMENT AND ORDER OF DISMISSAL
                     AS TO OAKLAND COUNTY

      This action arises out of property tax foreclosures located in Wayne and

Oakland counties. Plaintiffs Tonya Bowles and Bruce Taylor (“Plaintiffs”), former

real property owners, allege violations of their constitutional rights and Michigan

law in connection with the tax foreclosure process. (Amended Compl., ECF No.

17.) Plaintiffs filed a putative class action Complaint on behalf of themselves and
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other similarly situated individuals against the following Defendants: (i) County of

Wayne by its Board of Commissioners, also sometimes known as Charter County

of Wayne by its Board of Commissioners (“Wayne”); (ii) County of Oakland

(“Oakland”); (iii) Wayne Treasurer, Eric Sabree; and (iv) Oakland Treasurer,

Andrew Meisner. Specifically, Plaintiffs claim that Defendants wrongfully

retained the sales proceeds exceeding the taxes they owed on the properties and

seek unpaid “just compensation” and other monetary damages. (Id. at Pg ID 180-

87.)

       On July 26, 2022, Plaintiff Taylor and Defendant Oakland County filed a

“Joint Motion for Preliminary Approval of Settlement,” (ECF No. 61), which the

Court granted on September 6, 2022. (ECF No. 72.) On November 21, 2022,

Oakland County filed a motion to approve the settlement entitled “Oakland

County’s Brief re: Fairness Hearing.” (ECF No. 99.) The Court, having reviewed

the papers submitted by the parties and having conducted a fairness hearing on

November 22, 2022, approves the Class Action Settlement and dismisses all claims

against Defendants Oakland County, its Board of Commissioners, and Andrew

Meisner (“Oakland County”). Specifically, the Court ORDERS as follows:

       1.    Incorporated into this Final Judgment and Order of Dismissal is the

Settlement Agreement between the parties, (ECF No. 61-2,) the modifications

made to the Settlement Agreement, (ECF No. 98-1) (the “Modifications”), and the


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combined Opinion and Order Preliminarily Approving the Class Action Settlement

as to Oakland County, Granting Defendant Oakland County’s Joint Motion for

Approval of Notice Plan and Appointment of Claims Administrator, and Granting

Class Counsels’ Motion for Award of Attorneys’ Fees and Incentive Fees For

Class Representatives, entered by the Court on September 6, 2022. (ECF No. 72.)

      2.     Pursuant to Rule 23(a) and 23(b), the Court certifies the following

Settlement Class as to Oakland County only:

             All real property owners formerly owning real property
             within the County of Oakland who had their real property
             foreclosed for non-payment of taxes pursuant to the
             Michigan General Property Tax Act, MCL 211.78, et seq.,
             which was sold at tax auction for more than the amount
             owed in unpaid taxes, interest, penalties and fees and were
             not refunded the surplus amount. The period at issue is
             June 8, 2009 through July 17, 2020. Any former property
             owner who has filed their own post-foreclosure civil
             lawsuit which has become final or has otherwise settled
             with Oakland County is excluded.

      3.     The Court finds as to Oakland County only that certification for

purposes of settlement is appropriate because (a) the class is so numerous that

joinder of all members is impractical; (b) there are questions of law and fact

common to the Class and they predominate over any questions affecting only

individual Class Members; (c) Plaintiffs’ claims are typical of the claims of the

Class; (d) Plaintiffs and their attorneys will fairly and adequately protect the

interests of the Class; and (e) a class action is the superior means of resolving this


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controversy.

      4.       The Court appoints Bruce Taylor, Andre Ohanessian and Home

Opportunity, LLC as Class Representatives against Defendant Oakland County

pursuant to Rule 23(a) and appoints their attorneys, David J. Shea, Philip L.

Ellison, Matthew E. Gronda, Aaron D. Cox and Mark K. Wasvary, as Class

Counsel pursuant to Rule 23(g).

      5.       The Court finds that the Settlement Agreement’s plan for Class

 Notice, as described in the Joint Motion for Approval of Notice Plan and

 previously approved by the Court, is the best notice practicable under the

 circumstances and satisfies the requirements of due process and Rule 23(e)(1).

 The Notice Plan was implemented in accordance with that Order. The period in

 which Class Members may make a claim is extended to March 1, 2023, pursuant

 to the Modifications. The method for processing class members’ claims is

 approved.

      6.       The Court finds that the notice provisions of the Class Action Fairness

 Act, 28 U.S.C. §1715, have been satisfied.

      7.       The Court finds that class representative, Andre Ohanessian, shall

 receive a $5,000 incentive fee award per the Court’s Order. (ECF No. 105.)

      8.       Pursuant to Rule 23(e), the Court grants final approval of the

Settlement Agreement and the Modifications in all respects, including the


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Settlement Fund amount, the releases and covenants not to sue, the attorneys’ fees

of $11,000,000, and the dismissal with prejudice of all claims asserted against

Oakland County and finds the Settlement Agreement is, in all respects, fair,

reasonable and adequate to the Class. In reaching this conclusion, the Court

concludes that:

      a.     The Settlement Agreement and the Modifications were fairly and

honestly negotiated by experienced counsel and are the result of arm’s length

negotiations undertaken in good faith and with the assistance of two experienced

retired judges acting as mediators. The Class Representatives and Class Counsel

have adequately represented the Class.

      b.     The relief provided for the class is adequate. The case involves

contested issues of law and the value of an immediate monetary recovery

outweighs the possibility of future relief after protracted litigation.

      c.     The settlement treats class members equitably relative to each other

when considering the differences in their claims.

      9.     The distribution of the Settlement Fund, as described in the Settlement

Agreement and the Modifications, is approved.

      10.    The persons identified on Exhibit A (ECF No. 98-2) have filed

requests for exclusion from the Class and, except as noted on Exhibit A as to

validity, are excluded from the Class subject to adjudication by the Claims

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Administrator, may not make any claim on or receive any benefit from the

Settlement Fund and are dismissed without prejudice and without costs.

      11.    Upon the Effective Date (as set forth in paragraph 7 of the Settlement

Agreement), the Class Representatives and members of the Settlement Class shall

be deemed to have fully, finally and forever released, relinquished and discharged

Oakland County, its Board of Commissioners, and its Treasurer from any and all

claims of any kind as further set forth in paragraphs 18-20 of the Settlement

Agreement.

      12.    Without affecting the finality of this Final Judgment and Order of

Dismissal, the Court retains continuing jurisdiction over the implementation of the

Settlement Agreement and the Modifications, any award or distribution of the

Settlement Fund (including the validity of any claims) the resolution of any

disputes related to the Settlement Agreement and the Modifications, including the

scope of the releases and covenants not to sue. This Court is a proper venue and

convenient forum for those matters.

      13.    If the Settlement Agreement and Modifications do not become

effective pursuant to their terms, then this Final Judgment and Order of Dismissal

shall be null and void.




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      14.   As to Oakland County only, this case is dismissed with prejudice and,

except as provided for in the Settlement Agreement and Modifications and the

order of the Court granting fee, expense and service awards, without costs.

      15.   Pursuant to Rule 54(b), the Court finds there is no just reason for

delay in the entry of this Final Judgment and Order of Dismissal as to Oakland

County.

      IT IS SO ORDERED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE
 Dated: December 12, 2022




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